50 F.3d 9
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Darryl L. WRIGHT, Plaintiff-Appellant,v.Charles Molony CONDON, Former Solicitor;  Doug Sumner,Assistant Solicitor;  John Clark, Detective;  Michael M.Benton, Detective;  Darrell R. Houston, Detective;  JeffreyGains, Detective;  R.L. Deloney, Detective, Defendants-Appellees.
    No. 94-7301.
    United States Court of Appeals, Fourth Circuit.
    Submitted Jan. 19, 1995.Decided Feb. 21, 1995.
    
      Darryl L. Wright, appellant pro se.  James Albert Stuckey, Jr., Stuckey &amp; Kobrovsky, Charleston, SC, for appellees.
      Before WILKINS and MICHAEL, Circuit Judges, and SPROUSE, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying relief on his 42 U.S.C. Sec. 1983 (1988) complaint.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Wright v. Condon, No. CA-94-1632-2-21AK (D.S.C. Oct. 18, 1994), and we deny Appellant's motion for sanctions.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    